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                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


   AGUDATH ISRAEL OF AMERICA, a New
   York non-profit corporation, and WR PROPERTY LLC, a
   New Jersey limited liability company,

                         Plaintiffs,                         Civil No. 3:17-cv-03226

   v.

   TOWNSHIP OF JACKSON, NEW JERSEY,
   MICHAEL REINA, ROBERT NIXON, HELENE
   SCHLEGEL, JEFFREY PURPURO, WILLIAM
   CAMPBELL, and KENNETH PIESLAK,

                         Defendants.


               AMENDED DECLARATION OF SIEGLINDE K. RATH, ESQ.
                IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT


 Sieglinde K. Rath declares as follows, pursuant to 28 U.S.C. § 1746:
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 1.    I am an attorney with Storzer & Associates, P.C., attorneys for the Plaintiffs, and am duly

       admitted to practice law in the State of New Jersey, and the United States District Court

       for the District of New Jersey.

 2.    This Declaration is based on my own personal knowledge.

 3.    I make this Declaration in accordance with Rule 55(a) of the Federal Rules of Civil

       Procedure for the purpose of obtaining entry of default against the Township of Jackson,

       New Jersey for failure to answer or otherwise defend as to Plaintiffs’ Second Amended

       Complaint.

 4.    Pursuant to the Court’s Order of March 12, 2019 (Dkt. #31), Plaintiffs filed a Second

       Amended Complaint on April 15, 2019, subsequently corrected on April 23, 2019. (Dkt.

       #40).

 5.    Defendant, Township of Jackson, has not filed an answer or any other responsive pleading

       to Plaintiffs’ Second Amended Complaint, and the time to do so expired on May 14, 2019.

       Defendant, Township of Jackson, also has not filed an answer or any other responsive

       pleading to Plaintiff’s First Amended Complaint (Dkt. #22).

 6.    Plaintiffs consented during a phone conference on June 5, 2019 with Co-counsel Donna

       Jennings, Esq. and Defendants’ counsel, Howard Mankoff, Esq., to extend the time within

       which the Defendants could answer the Second Amended Complaint to June 10, 2019.

 7.    Defendants still failed to file an Answer by June 10, 2019.

 8.    The following other Defendants, whose representation status is unknown at this time, have

       not filed an answer or any other responsive pleading to Plaintiffs’ Second Amended

       Complaint:




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          1. William Campbell in his individual capacity, served on May 7, 2019 and time

             within which to Answer or file a responsive pleading was May 28, 2019. A true

             and correct copy of the Affidavit of Service reflecting same is attached hereto as

             Exhibit A.

          2. William Campbell in his official capacity, served on May 7, 2019 and time within

             which to Answer or file a responsive pleading was May 28, 2019. A true and

             correct copy of the Affidavit of Service reflecting same is attached hereto as

             Exhibit B.

          3. Robert Nixon in his individual capacity, served on May 7, 2019 and time within

             which to Answer or file a responsive pleading was May 28, 2019. A true and

             correct copy of the Affidavit of Service reflecting same is attached hereto as

             Exhibit C.

          4. Robert Nixon in his official capacity, served on May 7, 2019 and time within which

             to Answer or file a responsive pleading was May 28, 2019. A true and correct copy

             of the Affidavit of Service reflecting same is attached hereto as Exhibit D.

          5. Kenneth Pieslak in his official capacity, served on May 7, 2019 and time within

             which to Answer or file a responsive pleading was May 28, 2019. A true and

             correct copy of the Affidavit of Service reflecting same is attached hereto as

             Exhibit E.

          6. Jeffrey Purpuro in his individual capacity, served on May 13, 2019 and time within

             which to Answer or file a responsive pleading was June 3, 2019. A true and correct

             copy of the Affidavit of Service reflecting same is attached hereto as Exhibit F.




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          7. Jeffrey Purpuro in his official capacity, served on May 7, 2019 and time within

             which to Answer or file a responsive pleading was May 28, 2019. A true and

             correct copy of the Affidavit of Service reflecting same is attached hereto as

             Exhibit G.

          8. Michael Reina in his individual capacity, served on May 28, 2019 and time within

             which to Answer or file a responsive pleading was June 18, 2019. A true and

             correct copy of the Affidavit of Service reflecting same is attached hereto as

             Exhibit H.

          9. Michael Reina in his official capacity, served on May 7, 2019 and time within

             which to Answer or file a responsive pleading was May 28, 2019. A true and

             correct copy of the Affidavit of Service reflecting same is attached hereto as

             Exhibit I.

          10. Helene Schlegel in her individual capacity, served on May 8, 2019 and time within

             which to Answer or file a responsive pleading was May 29, 2019. A true and

             correct copy of the Affidavit of Service reflecting same is attached hereto as

             Exhibit J.

          11. Helene Schlegel in her official capacity, served on May 8, 2019 and time within

             which to Answer or file a responsive pleading was May 29, 2019. A true and

             correct copy of the Affidavit of Service reflecting same is attached hereto as

             Exhibit K.




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 I declare under penalty of perjury that the foregoing is true and correct.



 Executed on June 19, 2019


                                               STORZER & ASSOCIATES, P.C.

                                               By: /s/ Sieglinde K. Rath
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                                               Attorney for Plaintiffs




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                                 CERTIFICATE OF SERVICE

        This is to certify that on June 19, 2019, a copy of the foregoing was served on the following

 parties via the Court’s ECF system:

                               Howard B. Mankoff
                               Marshall, Dennahey, Warner, Coleman & Goggen, PC
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                               Suite 302
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                                              By: /s/ Sieglinde K. Rath
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